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                                  UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
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    SHIRLEY LINDSAY,                                   )   Case No.: 2:20-cv-05045-RSWL-GJSx
                                                         )
            Plaintiff,                                     ORDER ON JOINT STIPULATION
                                                         )
 
                                                             FOR DISMISSAL PURSUANT TO
      v.                                                 )   F.R.C.P. 41 (a)(1)(A)(ii)
                                                      )
      CENTINGLEWOOD, LLC, a California
      Limited Liability Company;                        )
    PRM INVESTMENTS, LLC, a Georgia                   )
      Limited Liability Company; and Does 1-            )
    10,
                                                       )
           Defendants.                               )
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            The Joint Stipulation for Dismissal is hereby granted. This action is hereby dismissed
    with prejudice as to all parties; each party to bear his/her/its own attorneys’ fees and costs. This
     stipulation is made as the matter has been resolved to the satisfaction of all parties.
     Dated: October 02, 2020                               By:    /s/ RONALD S.W. LEW
                                                           ________________________________
                                                                 Honorable Ronald S.W. Lew
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